 Case: 4:04-cv-01292-HEA Doc. #: 16 Filed: 01/11/07 Page: 1 of 5 PageID #: 91



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

CHARLES WARREN GRISSOM
                                    )
                 Petitioner,        )
                                    )
            v.                      )       No. 4:04 CV 1292 HEA
                                    )                         DDN
                                    )
AL LEUBBERS                         )
                                    )
                 Respondent.        )

                         REPORT AND RECOMMENDATION
                     OF UNITED STATES MAGISTRATE JUDGE

        This action is before the court upon the petition of Missouri state
prisoner Charles Warren Grissom for a writ of habeas corpus under 28
U.S.C. § 2254.      This matter was referred to the undersigned United
States Magistrate Judge for review and a recommended disposition in
accordance with 28 U.S.C. § 636(b).         For the reasons set forth below,
the undersigned recommends denying habeas relief.


                               I. BACKGROUND
        On February 10, 2003, petitioner pled guilty to statutory rape in
the second degree.      (Doc. 8 at 2.)      Petitioner received a suspended
execution of a six-year sentence and five years probation.          (Id. at 3.)
On October 9, 2003, petitioner’s probation was revoked for several
violations    and his sentence    was executed.      (Id.)   Petitioner was
delivered to the custody of the Missouri Department of Corrections
(MDOC) on October 17, 2003.      (Id.)    Petitioner was denied another term
of probation on January 20, 2004.        ( Id.)
        On May 21, 2004, petitioner filed a state habeas corpus petition
challenging his original guilty plea of February 10, 2003.          (Id.)   The
petition    was denied on August 26, 2004, and petitioner filed his
petition for federal habeas relief in this court September 22, 2004.
(Id.)


             II. PETITIONER’S GROUNDS FOR HABEAS CORPUS RELIEF
        Petitioner alleges four grounds for relief in this habeas action:
 Case: 4:04-cv-01292-HEA Doc. #: 16 Filed: 01/11/07 Page: 2 of 5 PageID #: 92



     (1)     Ineffective assistance of counsel because petitioner was
             prompted to plead guilty involuntarily by counsel’s advice
             that going to trial would lead to the maximum sentence and
             that petitioner would most likely be released after one-
             hundred and twenty days pursuant to Mo. Rev. Stat. § 559.115.
             (Doc. 2 at 7.)

     (2)     Denial of due process because of a lack of evidence against
             him. (Id. at 11.)

     (3)     Denial of due process because the state failed to object to
             his release pursuant to Mo. Rev. Stat. § 559.115 and there
             is no evidence or factual basis to sustain petitioner’s plea.
             (Id. at 12.)

     (4)     Sufficient cause and prejudice to overcome his procedural
             default in failing to timely file a Rule 24.035 motion. (Id.
             at 12.)

                              III. TIMELINESS
     Under 28 U.S.C. § 2254(d), the Antiterrorism and Effective Death
Penalty Act of 1996 (AEDPA), habeas corpus petitions must be filed
within one year from “the date on which the judgment became final by the
conclusion of direct review or the expiration of the time for seeking
such review.”    28 U.S.C. § 2244(d)(2).
     In order to determine the date on which the statutory period begins
to run, the court must determine the date of the final judgment, or when
direct review, or the time for seeking it, expired.      Under Missouri law,
a judgment in a criminal case becomes final when the sentence is entered
or a guilty plea is entered, and an appeal must be taken ten days from
that date.   Missouri v. Harris, 863 S.W.2d 699, 700 (Mo. Ct. App. 1993).
     Petitioner’s judgment and conviction became final on February 20,
2003, ten days after his sentence was entered and his time to appeal had
expired.   See Roberson v. Dormire, 2005 L 1307683, at *1 (W.D. Mo. 2005)
(judgment final for habeas purposes 10 days after sentence).       He did not
appeal or file any other motions for relief in state court, until his
probation was revoked and he filed a petition for state habeas relief. 1


     1
      The court notes that, if plaintiff were challenging the revocation
procedure itself, his only state remedy is a Rule 91 motion for state
habeas relief. Davis v. Purkett , 296 F. Supp. 2d 1027, 1029 n.1 (E.D.
Mo. 2003). However, petitioner is challenging various issues with his
                                                          (continued...)

                                   - 2 -
 Case: 4:04-cv-01292-HEA Doc. #: 16 Filed: 01/11/07 Page: 3 of 5 PageID #: 93



Petitioner’s instant habeas petition was not filed in this court until
September 22, 2004, after the one-year limitations period had expired.
     A     court   may   equitably   toll   the   statute   of    limitations   if
extraordinary circumstances beyond the petitioner’s control made filing
the petition in a timely fashion impossible.         Kreutzer v. Bowersox, 231
F.3d 460, 463 (8th Cir. 2000).        Petitioner has not alleged any reason
that prevented     him from filing his petition         in a timely fashion.
Therefore, his petition should be denied as untimely.


            IV. EXHAUSTION OF STATE REMEDIES AND PROCEDURAL BAR
     Petitioner’s grounds, even if timely filed, are also procedurally
barred from review in this court.           In order for a state prisoner to
obtain review under 28 U.S.C. § 2254, he must have fully exhausted all
remedies available in the state courts for all his alleged federal
habeas grounds.     28 U.S.C. § 2254(b) and (c); Coleman v. Thompson, 501
U.S. 722, 731 (1991); Sloan v Delo, 54 F.3d 1371, 1381 (8th Cir. 1995),
cert. denied, 516 U.S. 1056 (1996).         A failure to raise a claim in the
state courts erects a procedural bar to relief in the federal court.
Sweet v. Delo, 125 F.3d 1144, 1149-51 (8th Cir. 1997), cert. denied, 523
U.S. 1010 (1998).
     Petitioner’s state habeas petition was not sufficient to preserve
federal review of his claims.        Petitioner was required to file a Rule
24.035 motion to preserve his constitutional claims for federal review.
Mo. Sup. Ct. R. 24.035; Weeks v. Bowersox, 119 F.3d 1342, 1347 (8th Cir.
1997).     He was required to do so within 180 days of being taken into
custody.    Mo. Sup. Ct. R. 24.035(b).
     Petitioner was taken into custody on October 17, 2003, and had
until April 14, 2004 to file his Rule 24.035 motion.             He did not do so.
Failure to file a timely Rule 24.035 post-conviction relief motion
constitutes a default and raises a procedural bar to federal habeas
review.    Weeks, 119 F.3d at 1350.




(...continued)
guilty plea.

                                      - 3 -
 Case: 4:04-cv-01292-HEA Doc. #: 16 Filed: 01/11/07 Page: 4 of 5 PageID #: 94



     Petitioner may avoid the procedural bar by demonstrating legally
sufficient cause for the default and actual prejudice which results from
the default, or by demonstrating       that the failure to consider the
grounds will result in a fundamental miscarriage of justice.         Coleman,
501 U.S. at 750.   Legally sufficient cause for a procedural default must
be based upon an objective factor external to the petitioner and his
case, which impeded petitioner or his counsel from complying with the
state’s procedural rule.    Id. at 750-52.
     Petitioner argues that there is sufficient cause for his procedural
default.   He argues that his counsel was ineffective, his gulity plea
was involuntary because the prosecution failed to provide him with the
evidence against him, and that manifest injustice will result.          (Doc.
2 at 14-15.)
     The failure of petitioner to learn from his attorney about a legal
point is not sufficient cause to excuse a procedural bar.           Duvall v.
Purkett, 15 F.3d 745, 748 (8th Cir. 1994).       In addition, petitioner’s
ineffective assistance of counsel argument is not legally sufficient
cause during post-conviction hearings because no constitutional right
to counsel attaches at that stage.     Coleman, 501 U.S. at 725.     There is
no evidence of a manifest injustice.
     Petitioner has failed to demonstrate a legally sufficient cause and
actual prejudice for his failure to file a Rule 24.035 motion.          He has
not shown that any factor external to his case impeded his efforts to
comply with the state’s procedural rule.      Therefore, in addition to his
federal petition being untimely, petitioner’s claims are procedurally
barred from review and this court need not address the merits of
petitioner’s claims.
     For these reasons,
     IT IS HEREBY RECOMMENDED that the petition of Charles Warren
Grissom for a writ of habeas corpus be denied.




                                   - 4 -
 Case: 4:04-cv-01292-HEA Doc. #: 16 Filed: 01/11/07 Page: 5 of 5 PageID #: 95



     The parties are advised they have ten (10) days to file written
objections to this Report and Recommendation.          The failure to file
objections may result in a waiver of the right to appeal issues of fact.




                                   DAVID D. NOCE
                                   UNITED STATES MAGISTRATE JUDGE
Signed on January 11, 2007.




                                   - 5 -
